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 5                            UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7                                                    ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                       2:11-CR-00120-RLH-CWH
                                         )
10         vs.                           )                              ORDER
                                         )              (Motion Under 28 U.S.C. § 2255 to Vacate,
11   GEORGE E. ANDERSON,                 )               Set Aside, or Correct Sentence–#164)
                                         )
12                     Defendant.        )
     ____________________________________)
13

14          Before the Court is Defendant’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or

15   Correct (#164, filed July 25, 2014) and the Court will exercise its authority under that section to

16   refer this matter to the United States Attorney for a response to the Motion.

17          IT IS THEREFORE ORDERED that Defendant’s Motion Under 28 U.S.C. § 2255 to

18   Vacate, Set Aside or Correct (#164) is hereby REFERRED to the UNITED STATES

19   ATTORNEY for a response within forty-five (45) days of the entry this Order. Defendant will

20   then have fifteen (15) days thereafter to file a reply to the response of the United States Attorney,

21   and the matter will be referred for decision.

22          DATED: August 13, 2014.

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24                                                          ____________________________________
                                                            Roger L. Hunt
25                                                          United States District Judge

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